Case 5:25-cv-00951-PCP   Document 92-2   Filed 02/27/25   Page 1 of 24




                 Exhibit B
         Case 5:25-cv-00951-PCP          Document 92-2           Filed 02/27/25   Page 2 of 24




 1
     JULIE ELMER (pro hac vice)                            JACK P. DICANIO (CA Bar. No 138782)
 2   JENNIFER MELLOTT (pro hac vice)                       SKADDEN, ARPS, SLATE, MEAGHER &
     FRESHFIELDS US LLP                                    FLOM LLP
 3   700 13th St NW                                        525 University Avenue
     Washington, DC 20005                                  Palo Alto, CA 94301
 4   (202) 777-4500                                        (650) 470-4500
     julie.elmer@freshfields.com                            jack.dicanio@skadden.com
 5   jennifer.mellott@freshfields.com
                                                           Attorneys for Defendant
 6   SAMUEL G. LIVERSIDGE (CA No. 180578)                  JUNIPER NETWORKS, INC
     GIBSON, DUNN & CRUTCHER LLP
 7   333 South Grand Avenue                                MICHAEL J. FREEMAN (OH No. 086797)
     Los Angeles, CA 90071-3197                            U.S. DEPARTMENT OF JUSTICE
 8   (213) 229-7000                                        ANTITRUST DIVISION
     sliversidge@gibsondunn.com                            450 Fifth Street, NW, Suite 4000
 9                                                         Washington, DC 20530
                                                           Telephone: (212) 213-2774
10   [Additional counsel listed on signature page]         Fax: (202) 514-5847
                                                           Michael.Freeman@usdoj.gov
11   Attorneys for Defendant
     HEWLETT PACKARD ENTERPRISE CO.                        Attorney for Plaintiff
12                                                         UNITED STATES OF AMERICA

13   [Additional counsel listed on signature page]

14
                                 UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16

17
     UNITED STATES OF AMERICA,
18
                           Plaintiff                           Case No. 25-cv-00951-PCP
19                  v.

20                                                             JOINT CASE MANAGEMENT
     HEWLETT PACKARD ENTERPRISE CO.                            STATEMENT & [PROPOSED]
21   and JUNIPER NETWORKS, INC.,                               ORDER

22
                           Defendants.
23

24

25
                                                     -1-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
             Case 5:25-cv-00951-PCP         Document 92-2        Filed 02/27/25     Page 3 of 24




 1            Plaintiff United States of America and Defendants Hewlett Packard Enterprise Co.

 2   (“HPE”) and Juniper Networks, Inc. (“Juniper”), jointly submit this Joint Case Management

 3   Statement & Proposed Order pursuant to the Standing Order for All Judges of the Northern

 4   District of California and Civil Local Rule 16-9.

 5      I.       Jurisdiction & Service

 6            This Court has subject matter jurisdiction over this action under Section 15 of the Clayton

 7   Act, 15 U.S.C. § 25, as amended, to prevent and restrain Defendants from violating Section 7 of

 8   the Clayton Act, 15 U.S.C. § 18. Defendants consent to personal jurisdiction and venue in this

 9   Court. Counsel for Defendants, acting on behalf of Defendants, have accepted service of the

10   Complaint and have waived formal service of a summons.

11      II.      Facts

12            The Complaint makes the following factual allegations. The United States brings this

13   civil action to prevent HPE from acquiring its competitor, Juniper. The United States alleges

14   that HPE and Juniper are the second and third largest providers of commercial or “enterprise”

15   wireless networking solutions in the United States. The United States contends that the

16   acquisition, if consummated, would result in two companies—Cisco Systems, Inc. (“Cisco”) and

17   HPE—controlling over 70% of the U.S. market and eliminate fierce head-to-head competition

18   between Defendants, who offer enterprise-grade wireless networking solutions (“enterprise-

19   grade WLAN solutions”) under the HPE Aruba and Juniper Mist brands. According to the

20   United States, if consummated, the merger would extinguish head-to-head competition that has

21   lowered prices and driven investment in innovative network management software in violation of

22   Section 7 of the Clayton Act, 15 U.S.C. § 18.

23            Defendants contend that Plaintiff’s Complaint ignores that the WLAN space is highly

24   competitive, and is characterized by innovation and low entry barriers, with at least seven other

25   credible competitors with comparable offerings and capabilities to the parties. According to
                                                      -2-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
           Case 5:25-cv-00951-PCP            Document 92-2        Filed 02/27/25      Page 4 of 24




 1   Defendants, Plaintiff’s assertion that the transaction is motivated by a desire to consolidate the

 2   WLAN segment is entirely unsupported and inconsistent with the fact that WLAN is only a

 3   small part of the Defendants’ respective overall businesses. Defendants argue that the

 4   Transaction is motivated by a desire to combine two complementary businesses to enable the

 5   combined firm to bring new, more innovative, and more secure networking products to public

 6   and private sector customers in the U.S. and worldwide. Defendants assert that Plaintiff’s

 7   Complaint ignores these benefits that will result from the transaction as well as critical facts

 8   regarding the nature and extent of competition in the wireless networking space. Defendants

 9   contend that enjoining the transaction will reinforce the status quo across the networking space,

10   which has been dominated by Cisco for decades, and will deprive consumers and businesses of

11   the benefits of a combined company.

12      III.      Legal Issues

13             The following legal issues are in dispute:

14                A.      Whether HPE’s proposed acquisition of Juniper, if allowed to proceed, would

15                        violate Section 7 of the Clayton Act, 15 U.S.C. § 18, because the effect of it

16                        may be to substantially lessen competition in interstate trade and commerce in

17                        the market for enterprise-grade WLAN solutions in the United States;

18                B.      Whether enterprise-grade WLAN solutions is a properly defined relevant

19                        product market;

20                C.      Whether the United States is a properly defined relevant geographic market;

21                D.      Whether the acquisition will lead to anticompetitive effects in a properly

22                        defined market;

23                E.      Whether entry, expansion, and repositioning of other firms would be timely,

24                        likely, and sufficient in magnitude, character, and scope to deter or counteract

25                        the alleged anticompetitive effects of the acquisition;
                                                       -3-

                           JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                          Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP             Document 92-2        Filed 02/27/25      Page 5 of 24




 1                F.      Whether merger-specific efficiencies and synergies sufficiently outweigh the

 2                        alleged anticompetitive effects of the acquisition; and

 3                G.      Whether the Court should preliminarily and permanently enjoin and restrain

 4                        Defendants and all persons acting on their behalf from consummating HPE’s

 5                        acquisition of Juniper or from entering into or carrying out any other contract,

 6                        agreement, plan, or understanding, the effect of which would be to combine

 7                        HPE and Juniper in the United States.

 8        IV.      Motions

 9              No motions are presently on file. Defendants reserve their rights to file dispositive

10    motions. The Parties anticipate filing one or more motions in limine and may file Daubert

11    motions.

12      V.        Amendment of Pleadings

13            Although the Parties do not intend to amend their pleadings, any amendment must be

14   filed on or before February 28, 2025. Defendants filed Answers to the Complaint on February

15   10, 2025.

16      VI.       Evidence Preservation

17            The Parties have reviewed the Guidelines Relating to the Discovery of Electronically

18   Stored Information and have met and conferred pursuant to Federal Rule of Civil Procedure 26(f)

19   regarding reasonable and proportionate steps taken to preserve evidence relevant to the issues in

20   this action. The Parties acknowledge that they have reviewed the Court’s Checklist regarding

21   Electronically Stored Information (“ESI”) and confirm that they will meet and confer to address

22   reasonable and proportionate steps, including developing a joint ESI protocol, to preserve

23   evidence relevant to the issues reasonably evident in this action.

24

25
                                                       -4-

                          JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                         Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP           Document 92-2        Filed 02/27/25     Page 6 of 24




 1      VII.      Disclosures

 2          The Parties agree to waive the exchange of initial disclosures under Federal Rule of Civil

 3   Procedure 26(a)(1) and instead will exchange preliminary trial fact witness lists as provided in

 4   the proposed schedule in Paragraph XV.

 5      VIII. Discovery

 6                A.    Production of Documents, Data, and ESI

 7          The Parties will meet and confer to address the format and production of documents,

 8   data, and ESI, including any timelines regarding such productions, in a separate ESI protocol.

 9                B.    Proposed Discovery Plan

10          The Parties have met and conferred regarding a proposed discovery plan and agree on the

11   following:

12                1.    Definitions

13          For the purpose of this Order, “Party” means the Antitrust Division of the U.S.

14   Department of Justice, HPE, and Juniper.

15                2.    Discovery of Confidential or Highly Confidential Information

16          Discovery and production of Confidential or Highly Confidential information will be

17   governed by the Protective Order entered by the Court in this action. When sending discovery

18   requests, notices, and subpoenas to non-parties, the Parties must include copies of any Protective

19   Orders then in effect.

20                3.    Timely Service of Fact Discovery

21          All discovery, including discovery served on non-parties, must be served in time to

22   permit completion of responses by the close of fact discovery.

23

24

25
                                                     -5-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
           Case 5:25-cv-00951-PCP           Document 92-2        Filed 02/27/25      Page 7 of 24




 1              4.      Subpoenas to Non-Parties

 2          The Parties will in good faith cooperate with each other with regard to any discovery to

 3   non-parties in an effort to minimize the burden on non-parties. Each Party must serve a copy of

 4   any subpoena to a non-party on the other Parties at or before the time the subpoena is served on

 5   the non-party. The Parties agree to accept electronic service (by email) of a notice and copy of

 6   the subpoena. Every subpoena to a non-party shall include a cover letter requesting that: (a) the

 7   non-party stamp each document with a production number prior to producing it; (b) the non-

 8   party stamp any applicable confidentiality designation prior to producing it; and (c) the non-party

 9   provide to the other Parties copies of all productions at the same time as they are produced to the

10   requesting Party. To facilitate cooperation, a requesting Party will produce to all other Parties a

11   written record of any oral modifications to the subpoena and (unless already copied) all

12   substantive written communications concerning non-party subpoenas within 5 business days of

13   the oral or written communication, including objections, responses, agreements on extensions or

14   limitations, and accounts of productions received from non-parties.

15          If a non-party fails to provide copies of productions to the other side, the requesting Party

16   shall provide copies to the other Party, in the format the productions were received, within 5

17   business days after receipt of such materials from the non-party. In addition, if a non-party

18   produces documents or electronically stored information that are not Bates-stamped, the Party

19   receiving those materials will Bates-stamp such documents or electronically stored information

20   and produce such Bates-stamped copies to all Parties simultaneously within a timeframe

21   appropriate to the volume and complexity of the materials received. Production of the Bates-

22   stamped copies should not delay production of the non-Bates stamped versions to all Parties as

23   required in the first sentence of this paragraph.

24

25
                                                         -6-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP           Document 92-2        Filed 02/27/25      Page 8 of 24




 1              5.      Written Discovery on Parties

 2                         a.      Document Requests

 3          There is no pre-determined limit on the number of requests for the production of

 4   documents that may be served by the Parties, but any requests must be proportional to the needs

 5   of the case as required by Federal Rule of Civil Procedure 26(b)(1).

 6          The Parties must serve any objections to requests for productions of documents within 7

 7   business days after the requests are served. Within 3 business days of service of any objections,

 8   the Parties must meet and confer to attempt to resolve any objections and to agree on search

 9   terms and custodians to be searched. The Parties must make good-faith efforts to make rolling

10   productions of responsive documents (to the extent not subject to any objections, search terms

11   negotiations, or custodian issues that have not been resolved), including any portion(s) of

12   responsive productions that are not subject to any objections or negotiations concerning the

13   method of production or custodians, beginning no later than 21 days after service of the request

14   for production. The Parties must make good-faith efforts to substantially complete responsive

15   productions no later than 28 days after service of the request for production. Should any

16   objections or negotiations concerning the method of production or custodians remain unresolved

17   for 14 days or more after service of the request for production, the Parties must make good-faith

18   efforts to complete such remaining responsive productions no later than 14 days after resolution

19   of such objections or negotiations.

20                         b.      Interrogatories

21          Interrogatories are limited to 12 (including discrete subparts) to Defendants collectively

22   by the United States and to 12 (including discrete subparts) to the United States collectively by

23   Defendants. The Parties must serve any objections to interrogatories within 7 business days after

24   the interrogatories are served. Within 3 business days of service of any objections, the Parties

25   must meet and confer to attempt to resolve the objections. The Parties must make good-faith
                                                     -7-

                        JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                       Case No. 5:25-cv-00951-PCP
           Case 5:25-cv-00951-PCP           Document 92-2         Filed 02/27/25       Page 9 of 24




 1   efforts to provide complete answers to interrogatories no later than 28 days after service of the

 2   interrogatories.

 3                      c.      Requests for Admission

 4          Requests for admission are limited to 20 by the United States to Defendants collectively

 5   and to 20 by Defendants collectively to the United States. Unless otherwise agreed, the Parties

 6   must make good faith efforts to respond in writing to requests for admissions no later than 28

 7   days after service of the requests.

 8              6.      Depositions

 9          The United States is limited to 25 depositions of fact witnesses, and the Defendants

10   collectively are limited to 25 depositions of fact witnesses. Depositions of a Party or third-party

11   organization may be taken by either Party under Federal Rule of Civil Procedure 30(b)(6) and

12   will count against the 25-deposition maximum. The United States may issue no more than one

13   (1) deposition notice under Rule 30(b)(6) to each Defendant (two total). Each seven-hour

14   deposition of a Party taken under Federal Rule of Civil Procedure 30(b)(6) counts as one

15   deposition for purposes of the side’s limit, regardless of the number of witnesses produced to

16   testify on the matters for examination in that deposition. For the avoidance of doubt, every non-

17   party deposition taken under Federal Rule of Civil Procedure 30(b)(6) counts as one deposition

18   for purposes of the side’s limit, regardless of whether the full seven hours afforded under Federal

19   Rule of Civil Procedure 30(d)(1) are used. Where a witness testifying on behalf of a Defendant

20   under Rule 30(b)(6) has also been noticed as a fact witness, the Parties shall confer regarding

21   whether it is reasonable to take both depositions on the same day or on consecutive business

22   days. The following depositions do not count against the deposition caps imposed in this

23   Paragraph: (a) depositions of any persons identified on a Party’s final fact witness list who were

24   not identified on that Party’s preliminary fact witness list; (b) depositions of the Parties’

25   designated expert witnesses; (c) depositions taken in response to Civil Investigative Demands
                                                       -8-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP           Document 92-2        Filed 02/27/25      Page 10 of 24




 1   prior to January 30, 2025; (d) the 2-hours of deposition time afforded to non-noticing Parties in

 2   non-party depositions; (e) depositions taken for the sole purpose of establishing the location,

 3   authenticity, or admissibility of documents produced by any Party or non-party, provided that

 4   such depositions may be noticed only after the Party taking the deposition has taken reasonable

 5   steps to establish location, authenticity, or admissibility through other means, and further

 6   provided that such depositions must be designated at the time that they are noticed as being taken

 7   for the sole purpose of establishing the location, authenticity, or admissibility of documents; or

 8   (f) depositions of a non-party (including an employee of a non-party) to or with which a

 9   Defendant has made an offer, commitment, or agreement (including an agreement to divest or

10   license assets) to attempt to address the United States’ concerns about the Planned Transaction.

11          The Parties will use reasonable efforts to reduce the burden on witnesses (including

12   experts) noticed for depositions and to accommodate the witnesses’ schedules. Absent

13   extraordinary circumstances, the Parties and non-parties will consult in advance to schedule

14   depositions at mutually convenient times and places. Parties will make reasonable efforts to

15   make witnesses (including experts) available for deposition promptly upon notice. The Parties

16   will meet and confer in good faith regarding whether a deposition will be conducted virtually or

17   in-person. Depositions that are conducted in-person will take place in the locations where

18   witnesses reside or are employed, unless the noticing Party or Parties and the witness mutually

19   agree otherwise, subject to Paragraph XX.E of this Order. For any Party or non-party deposition

20   conducted virtually by agreement of the Parties or Court order, the deposition will take place by

21   videoconference. The court reporter will swear in the witness remotely by means of the

22   videoconference. No participants other than the court reporter, and videographer if applicable,

23   will record the deposition.

24          If a Party serves on a non-party a subpoena for production of documents or electronically

25   stored information and a subpoena commanding attendance at a deposition, the Party serving
                                                      -9-

                        JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                       Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP           Document 92-2         Filed 02/27/25      Page 11 of 24




 1   those subpoenas must schedule the deposition for a date at least 7 business days after the return

 2   date for the document subpoena, unless all other Parties consent to fewer than 7 business days.

 3   In the event the Party serving the subpoenas agrees to extend the date of production for the

 4   document subpoena in a way that would result in fewer than 7 business days between the

 5   extended production date and the date scheduled for that non-party’s deposition, the date

 6   scheduled for the deposition must be postponed to be at least 7 business days following the

 7   extended production date, unless all other Parties consent to fewer than 7 business days. In the

 8   event that an opposing Party serves a separate subpoena on the same non-party and causes the

 9   date of production for that second document subpoena to result in fewer than 3 business days

10   between that production date and the date scheduled for that non-party’s deposition, the

11   originally noticing Party may at its sole discretion postpone the date scheduled for the deposition

12   for up to 3 business days following the second production date.

13          Depositions of fact witnesses are limited to no more than one (7-hour) day unless

14   otherwise stipulated. A Defendant noticing a deposition may cede some or all of its examination

15   time to another Defendant. During non-party depositions, the non-noticing side will receive at

16   least two hours of examination time. If a non-party deposition is noticed by both sides, then time

17   will be divided equally between the sides (i.e., 3.5 hours to Plaintiff and 3.5 hours collectively to

18   Defendants). Any time allotted to one side not used by that side in a non-party deposition may

19   not be used by the other side absent agreement from both sides.

20          Any Party may further depose any person whose deposition was taken pursuant to a Civil

21   Investigative Demand, and the fact that such person’s deposition was taken pursuant to a Civil

22   Investigative Demand may not be used as a basis for any Party to object to that person’s

23   deposition. Depositions taken of non-party witnesses pursuant to Civil Investigative Demands

24   may not be used at trial except for impeachment subject to the Federal Rules of Civil Procedure

25   and Federal Rules of Evidence.
                                                      -10-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP            Document 92-2         Filed 02/27/25       Page 12 of 24




 1           Any objection made by any Party in a deposition preserves that objection for every Party.

 2           Notwithstanding any other part of this Paragraph, the Parties reserve their right to move

 3   for a protective order pursuant to Federal Rule of Civil Procedure 26(c)(1). The parties reserve

 4   the right to seek from the Court additional deposition time with particular witnesses or a different

 5   allocation of time than the allocations that are set forth within this Paragraph.

 6               7.      Supplemental Discovery

 7           Notwithstanding any other provision of this Order, each Party may issue supplemental

 8   deposition notices or deposition subpoenas, related to any person (including entities related to

 9   any such person) identified on a Party’s final trial fact witness list who was not identified on that

10   Party’s preliminary trial fact witness list within 3 calendar days of receipt of the final fact

11   witness list; provided, however, that no additional depositions may be sought from any person

12   who was previously deposed during this action.

13           Notwithstanding any other provision of this Order, depositions related to any person

14   (including entities related to any such person) identified on a Party’s final trial fact witness list

15   who was not identified on that Party’s preliminary trial fact witness list must be completed by the

16   close of supplemental discovery.

17               8.      Presumptions of Authenticity

18           Documents and data produced by Parties and non-parties from their own files will be

19   presumed to be authentic within the meaning of Federal Rule of Evidence 901. Any good-faith

20   objection to authenticity must be provided with the exchange of other objections to intended trial

21   exhibits. If the opposing side serves a specific good-faith written objection to authenticity, the

22   presumption of authenticity will no longer apply and the Parties will promptly meet and confer to

23   attempt to resolve any objection.

24

25
                                                       -11-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP               Document 92-2        Filed 02/27/25      Page 13 of 24




 1          Notwithstanding any other deadlines in this Order, a Party may take limited discovery

 2   related to the authenticity of any document on that Party’s exhibit list to which the opposing side

 3   objects on the ground that such document is inauthentic.

 4               9.         Expert Witness Disclosures and Depositions.

 5           Expert disclosures, including each side’s expert reports, must comply with the

 6   requirements of Federal Rule of Civil Procedure 26(a)(2) and 26(b)(4), except as modified by

 7   this Paragraph.

 8          1.         Neither side must preserve or disclose, including in expert deposition testimony or

 9                     at trial, the following documents or information:

10                     a.      Any form of oral or written communications, correspondence, or work

11                             product not relied upon by the expert in forming any opinions in their final

12                             report shared between:

13                            i.       the expert and any persons assisting the expert;

14                           ii.       any Party’s counsel and its expert(s), or between any agent or

15                                     employee of any Party’s counsel and the Party’s expert(s);

16                          iii.       testifying and non-testifying experts and their own staff;

17                           iv.       non-testifying experts;

18                           v.        testifying experts; or

19                           vi.       staff assisting testifying or non-testifying experts on the same side.

20                     b.      The expert’s notes, except for notes taken by or reviewed by an expert of

21                             an interview upon which the expert relied in forming any opinions in their

22                             final report;

23                     c.      Drafts of expert reports, affidavits, or declarations;

24

25
                                                         -12-

                            JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                           Case No. 5:25-cv-00951-PCP
     Case 5:25-cv-00951-PCP        Document 92-2         Filed 02/27/25       Page 14 of 24




 1          d.      Data formulations, data runs, data analyses, or any database-related

 2                  operations not relied upon by the expert in forming any opinions in their

 3                  final report; and

 4          e.      Budgets, invoices, bills, receipts, or time records concerning testifying or

 5                  non-testifying experts, their staff, assistants, colleagues, or associates, or

 6                  their companies or organizations. Notwithstanding this provision, any

 7                  Party may inquire into a testifying expert’s compensation in this matter,

 8                  including the testifying expert’s hourly rates as well as the hourly or other

 9                  rates charged by firms and personnel supporting the expert, the total hours

10                  spent by the testifying expert and staff members in connection with this

11                  case, and any other payments or consideration received by the testifying

12                  expert or any firm or agents supporting the expert relating to work in the

13                  case.

14                  Notwithstanding the limitations contained in the paragraph immediately

15          above, an expert may be asked at a deposition or trial: (a) to identify and generally

16          describe what data, facts, algorithms, modeling, regression analyses and source

17          code the expert reviewed, investigated or considered but did not rely on or

18          otherwise use, and (b) to describe the reasons for reviewing—but not using or

19          relying on—any such data, facts, algorithms, modeling, analyses or source code.

20    2.    Testifying expert reports and declarations shall be served via email whenever

21          possible. If the files are too large, the Parties shall serve using a secure file

22          transfer, including ShareFile. Expert reports will include a list of all documents

23          (by Bates number), deposition testimony, data, articles, websites, and other

24          sources relied upon by the testifying expert(s) in forming any opinions in their

25          final reports, including Bates numbers of documents previously produced.
                                              -13-

                 JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP          Document 92-2         Filed 02/27/25      Page 15 of 24




 1          3.      The Parties agree that the following materials will be disclosed using a secure file

 2                  transfer, including ShareFile, one calendar day after the reports are served:

 3                  a.     Copies of all materials relied upon by the expert in forming any opinions

 4                         in their report that were not previously produced and that are not readily

 5                         available publicly;

 6                  b.     A list of all publications authored by the expert in the previous 10 years;

 7                  c.     Copies of all publications authored by the expert in the previous 10 years

 8                         that are not readily available publicly;

 9                  d.     A list of all other cases in which, during the previous 4 years, the expert

10                         testified at trial or by deposition, including tribunal and case number;

11                  e.     For all calculations appearing in the final report(s), all data and programs

12                         underlying the calculations, including all programs and codes necessary to

13                         replicate the calculations from the initial (“raw”) data files, and the

14                         intermediate working-data files that are generated from the raw data files

15                         and used in performing the calculations appearing in the final report and a

16                         written explanation of why any observations in the raw data were either

17                         excluded from the calculations or modified when used in the calculations

18                         (“Backup Materials”). For clarity, raw data files are data that exist in the

19                         ordinary course of business, and intermediate working-data files are data

20                         assembled or processed for purposes of litigation; and

21                  f.     A statement of the compensation to be paid to the testifying expert for

22                         their report and testimony in the case, which statement may appear in the

23                         testifying expert’s report.

24          Each expert will be deposed for only one 7-hour day, with all 7 hours reserved for the

25   side noticing the expert’s deposition provided, however, that counsel for a Party may
                                                     -14-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP            Document 92-2         Filed 02/27/25    Page 16 of 24




 1   additionally take reasonable and appropriate redirect examination of that Party’s expert(s).

 2   Depositions of each side’s experts will be conducted only after disclosure of all expert reports

 3   and all materials identified above for all that side’s experts.

 4            The Parties shall not serve subpoenas or discovery requests upon any testifying or non-

 5   testifying expert. Instead, the Party proffering such testifying expert will: (a) be responsible for

 6   producing all materials and information required under this Order or to the extent not addressed

 7   in this Order, under the Federal Rules of Civil Procedure, for the testifying expert, and (b) upon

 8   request, make the testifying expert available for deposition at a time mutually agreed to by the

 9   Parties and consistent with the Court’s scheduling orders.

10      IX.      Class Actions

11            Not applicable.

12      X.       Related Cases

13            The Parties presently are not aware of any related cases before another judge of this

14   Court, or before another court or administrative body.

15      XI.      Relief

16            The United States requests that the Court: (a) adjudge and decree that HPE’s proposed

17   acquisition of Juniper would be unlawful and violate Section 7 of the Clayton Act, 15 U.S.C.

18   § 18; (b) preliminarily and permanently enjoin and restrain Defendants and all persons acting on

19   their behalf from consummating HPE’s acquisition of Juniper or from entering into or carrying

20   out any other contract, agreement, plan, or understanding, the effect of which would be to

21   combine HPE and Juniper in the United States; (c) award the United States the costs of this

22   action; and (d) award the United States other relief that the Court deems just and proper.

23

24

25
                                                      -15-

                          JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                         Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP             Document 92-2         Filed 02/27/25       Page 17 of 24




 1       XII.    Settlement and ADR

 2           The Parties do not believe there is a realistic possibility of settling this case at this time.

 3   The Parties will comply with ADR Local Rule 3-5 and any Orders of the Court setting forth

 4   ADR-related deadlines.

 5       XIII. Other References

 6           The Parties do not believe that other references are appropriate at this time.

 7       XIV. Narrowing of Issues

 8           The Parties have not identified issues that can be narrowed by agreement or by motion at

 9   this time. The Parties will continue to discuss mechanisms to expedite the presentation of

10   evidence at trial.

11       XV.     Scheduling

12           *Point of Impasse*

13           The Parties provided their respective trial schedules and positions in the Joint Status

14   Report. A

15

16
         XVI. Expedited Trial Procedures
17
             The Parties believe that this case is not suitable for handling under the Expedited Trial
18
     Procedure of General Order No. 64.
19
         XVII. Trial
20
             This case will be tried to the court. Plaintiff expects the trial to last ten to twelve trial
21
     days. Defendants expect the trial to last no more than eight to ten trial days.
22
         XVIII. Disclosure of Non-party Interested Entities or Persons
23
             The United States is not required to file a Certification of Interested Entities or Persons
24
     under Civil Local Rule 3-15. Pursuant to Civil L.R. 3-15, HPE filed its certification of Interested
25
                                                       -16-

                          JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                         Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP            Document 92-2         Filed 02/27/25       Page 18 of 24




 1   Entities or Persons (Dkt. No. 7), which discloses that as of the date of the filing, there is no such

 2   interest to report. HPE has no parent corporation and no publicly held corporation owns 10% or

 3   more of its stock. Juniper filed its certification of Interested Entities or Persons (Dkt. No. 15),

 4   which discloses that as of the date of the filing Juniper has no public parent corporation and one

 5   publicly held corporation, The Vanguard Group, owns 10% or more of Juniper’s stock.

 6       XIX. Professional Conduct

 7           All attorneys of record for the Parties have reviewed the Guidelines for Professional

 8   Conduct for the Northern District of California.

 9       XX.     Other Matters

10               A. Witness Lists

11           The United States is limited to 25 persons (excluding experts) on its preliminary trial fact

12   witness list, and the Defendants collectively are limited to 25 persons (excluding experts) on

13   their preliminary trial fact witness list. The preliminary trial fact witness lists must comply with

14   Federal Rule of Civil Procedure 26(a)(3)(A)(i)–(ii) and include the name, employer, address, and

15   telephone number of each witness, as well as counsel’s contact information for third-party

16   witnesses. With respect to third parties for which depositions are not complete, such third parties

17   can be identified in a corporate capacity until the depositions take place.

18           The United States is limited to 25 persons (excluding experts) on its final trial fact

19   witness list, and the Defendants collectively are limited to 25 persons (excluding experts) on

20   their final trial witness list. Each side’s final trial fact witness list may identify no more than 5

21   fact witnesses that were not identified on that side’s preliminary trial fact witness list. Despite

22   the limitation on the number of depositions that each side may take, each side shall have the right

23   to depose any witness on the opposing side’s final fact witness list if that witness has not already

24   been deposed in this litigation, even if the limitation on depositions is exceeded. The final trial

25   witness lists must comply with Federal Rule of Civil Procedure 26(a)(3)(A)(i)–(ii) and include
                                                       -17-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP                Document 92-2         Filed 02/27/25       Page 19 of 24




 1   the name, employer, address, and telephone number of each witness, as well as counsel’s contact

 2   information for third-party witnesses.

 3              Consistent with the schedule proposed in Paragraph XV, the Parties will also exchange

 4   expert witness lists. Each side’s expert witness list will designate all experts that each side

 5   intends to call at trial, along with a brief statement of the subject matter on which the expert will

 6   testify.

 7              In preparing preliminary trial fact witness lists, final trial fact witness lists, and expert

 8   witness lists the Parties must make good-faith attempts to identify the witnesses whom they

 9   expect that they may present as live witnesses at trial (other than solely for impeachment). No

10   Party may offer into evidence at trial any portion of a person’s deposition testimony unless that

11   person was identified on eitherParty’s final trial witness list. No Party may call a person to

12   testify as a live witness at trial (other than solely for impeachment) unless that person was

13   identified on either Party’s final trial witness list.

14                  B. Completion of Planned Transaction

15              Defendants have agreed that they will not close, consummate, or otherwise complete the

16   Proposed Transaction until 12:01 a.m. on the 5th day following the entry of the judgment by the

17   Court in this matter, and only if the Court enters an appealable order that does not prohibit

18   consummation of the transaction. For purposes of this Order, “Proposed Transaction” means the

19   proposed acquisition of Juniper by Hewlett-Packard Enterprise Company.

20                  C. Nationwide Service of Subpoenas

21              To assist the Parties in planning discovery, and in view of the geographic dispersion of

22   potential witnesses in this action outside this District, the Parties are permitted, under 15 U.S.C.

23   § 23, to issue nationwide discovery and trial subpoenas from this Court. The availability of

24   nationwide service of process, however, does not make a witness who is otherwise “unavailable”

25
                                                          -18-

                            JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                           Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP           Document 92-2         Filed 02/27/25      Page 20 of 24




 1   for purposes of Federal Rule of Civil Procedure 32 and Federal Rule of Evidence 804 available

 2   under those rules or otherwise affect the admissibility at trial of a deposition of a witness.

 3              D. Service of Pleadings and Discovery on Other Parties

 4          Service of all pleadings, discovery requests (including subpoenas for testimony or

 5   documents under Federal Rule of Civil Procedure 45), and delivery of all correspondence in this

 6   matter, other than expert backup materials, must be made by ECF or email, except when the

 7   volume of attachments requires delivery via secure file transfer, to the following individuals

 8   designated by each Party:

 9          For Plaintiff the United States:
                      Michael J. Freeman (Michael.Freeman@usdoj.gov)
10                    Craig Conrath (Craig.Conrath@usdoj.gov)
                      Jeremy Goldstein (Jeremy.Goldstein@usdoj.gov)
11                    Elizabeth S. Jensen (Elizabeth.Jensen@usdoj.gov)
                      U.S. Department of Justice, Antitrust Division
12                    450 Golden Gate Avenue, Suite 10-0101
                      San Francisco, CA 94102
13                    Tel: (415) 934-5300
14
            For Defendant Hewlett Packard Enterprise Co.:
15
                     Julie Elmer (julie.elmer@freshfields.com)
16                   Jennifer Mellott (jennifer.mellott@freshfields.com)
                     Connie Forkner (constance.forkner@freshfields.com)
17                   Sara Salem (sara.salem@freshfields.com)
                     Lauren Vaca (lauren.vaca@freshfields.com)
18                   Freshfields US LLP
                     700 13th Street, NW, 10th Floor
19                   Washington, DC 20005-3960
                     Tel: (202) 777-4500
20
            For Defendant Juniper Networks, Inc.:
21                   Steven C. Sunshine (steve.sunshine@skadden.com)
                     Tara Reinhart (tara.reinhart@skadden.com)
22                   Ryan Travers (ryan.travers@skadden.com)
                     Maria Raptis (maria.raptis@skadden.com)
23                   Joseph M. Rancour (joseph.rancour@skadden.com)
                     Skadden, Arps, Slate, Meagher & Flom LLP
24
                     1440 New York Ave., NW
25                   Washington, DC 20005
                                                      -19-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP            Document 92-2        Filed 02/27/25       Page 21 of 24




 1                      Tel.: (202) 371-7000

 2
            Service of expert backup materials will be made utilizing a secure file transfer system as
 3
     provided in Paragraph VIII.9.
 4
            This list of designated individuals may be modified by unilateral request of either Party.
 5
            For purposes of calculating discovery response times under the Federal Rules of Civil
 6
     Procedure, electronic delivery at the time the email was sent will be treated in the same manner
 7
     as hand delivery at that time. However, for any service other than service of court filings, email
 8
     service that is delivered after 9:00 p.m. Pacific Time will be treated as if it was served the
 9
     following business day.
10
                E. Evidence from a Foreign Country
11
            Before any Party may offer documentary or testimonial evidence from an entity or person
12
     located in a foreign country, the other side must be afforded an opportunity by the entity or person
13
     (or both, when applicable) to obtain documentary and deposition discovery. For any non-party
14
     witness who resides outside the United States and is included on the witness lists of any Party, any
15
     deposition of that witness may be conducted via remote means and any such deposition may be
16
     conducted under United States law. For any Party witness who resides outside the United States,
17
     is an executive of a Party, and is included on the witness lists of any Party, that witness will be
18
     produced by the Party for a deposition under United States law.
19
            Each Party agrees that its litigation counsel in this action will accept service of a deposition
20
     notice on behalf of any witness who is an executive of a Party, the Party’s subsidiary, or an affiliate
21
     of the Party and who resides or is located outside the United States, without requiring additional
22
     or different procedures to be followed pursuant to the Hague Evidence Convention, or any other
23
     applicable convention, treaty, law, or rule. In addition, each Party agrees to make each such
24

25
                                                      -20-

                         JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                        Case No. 5:25-cv-00951-PCP
          Case 5:25-cv-00951-PCP           Document 92-2        Filed 02/27/25     Page 22 of 24




 1   witness available for either a remote deposition or an in-person deposition in the United States at

 2   a location convenient for the individual and as agreed to by the Parties.

 3          For the avoidance of doubt, nothing in this provision precludes a Party from moving for a

 4   protective order under the Federal Rules of Civil Procedure.

 5              F. Modification of Discovery Order

 6          Modifications of the rights and responsibilities of the Parties under this Order may be

 7   made by mutual agreement of the Parties, provided any such modification has no effect on the

 8   schedule for pretrial filings or trial dates. Otherwise, any Party may seek modification of this

 9   Order for good cause.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
                                                     -21-

                        JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                       Case No. 5:25-cv-00951-PCP
        Case 5:25-cv-00951-PCP      Document 92-2      Filed 02/27/25      Page 23 of 24




 1   Dated: February 27, 2025                   /s/ Michael J. Freeman
                                                Michael J. Freeman
 2                                              Senior Litigation Counsel
                                                U.S. Department of Justice
 3                                              450 Fifth Street, NW, Suite 4000
                                                Washington, DC 20530
 4                                              Telephone: (212) 213-2774
                                                Fax: (202) 514-5847
 5                                              Michael.Freeman@usdoj.gov
                                                Attorneys for Plaintiff United States
 6

 7
     Dated: February 27, 2025                   /s/ Julie Elmer
 8                                              Julie Elmer
                                                Jennifer Mellott
 9
                                                Freshfields US LLP
10                                              700 13th Street, NW, 10th Floor
                                                Washington, DC 20005-3960
11                                              (202) 777-4500
                                                julie.elmer@freshfields.com
12                                              jennifer.mellott@freshfields.com

13                                              Beth A. Wilkinson (pro hac vice)
                                                Wilkinson Stekloff LLP
14                                              2001 M Street NW, 10th Floor
                                                Washington, DC 20036
15                                              (202) 847-4010
                                                bwilkinson@wilkinsonstekloff.com
16
                                                Samuel G. Liversidge (CA No. 180578)
17                                              Gibson Dunn & Crutcher LLP
                                                333 South Grand Avenue
18
                                                Los Angeles, CA 90071-3197
19                                              (213) 229-7000
                                                sliversidge@gibsondunn.com
20                                              Attorneys for Defendant Hewlett Packard
                                                Enterprise Co.
21

22   Dated: February 27, 2025                   /s/ Steve C. Sunshine
                                                Steven. C. Sunshine
23                                              Tara Reinhart
                                                Skadden, Arps, Slate, Meagher & Flom LLP
24                                              1440 New York Avenue, NW
                                                Washington, DC 20005
25                                              (202) 371-7000
                                             -22-

                     JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                    Case No. 5:25-cv-00951-PCP
         Case 5:25-cv-00951-PCP     Document 92-2       Filed 02/27/25   Page 24 of 24




 1                                              steve.sunshine@skadden.com
                                                tara.reinhart@skadden.com
 2                                              Attorneys for Defendant Juniper Networks,
                                                Inc.
 3

 4

 5   PURSUANT TO STIPULATION, IT SO ORDERED.
 6

 7   Dated: ________________                        _____________________________
                                                    HONORABLE P. CASEY PITTS
 8                                                  United States District Judge
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
                                             -23-

                     JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
                                    Case No. 5:25-cv-00951-PCP
